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15                                UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
17                                      SAN FRANCISCO DIVISION
18

19   IN RE: CATHODE RAY TUBE (CRT)                     Master File Case No. 3:07-cv-05944-JST
     ANTITRUST LITIGATION
20                                                     MDL No. 1917
21                                                     Individual Case No. 3:13-cv-05723-JST
     This Document Relates to:
22
            Case No. 3:13-cv-05723-JST                 [PROPOSED] ORDER OF DISMISSAL
23                                                     WITH PREJUDICE
     COSTCO WHOLESALE CORPORATION,
24
                           Plaintiff,
25
                   v.
26
     TECHNICOLOR SA., et al.,
27
                           Defendants.
28

     [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
     Master File Case No. 3:07-cv-05944-JST; MDL No. 1917
     Case
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 1            The Court, having considered the stipulation of the parties, and good cause appearing,
 2   orders as follows:
 3            1. The action filed by Costco Wholesale Corporation is dismissed with prejudice as
 4                 against Defendants Technicolor SA (f/k/a Thomson SA), Technicolor USA, Inc. (f/k/a
 5                 Thomson Consumer Electronics, Inc.), and Technologies Displays Americas LLC
 6                 (f/k/a Thomson Displays Americas LLC).
 7            2. This dismissal does not affect the rights or claims of Costco against any other
 8                 defendant in this litigation.
 9            3. As between them, each party shall bear its own costs and attorneys’ fees.
10            IT IS SO ORDERED.
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12   DATED: September 20, 2016
                                                        The Honorable Jon S. Tigar
13                                                      United States District Judge
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     [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
     Master File Case No. 3:07-cv-05944-JST; MDL No. 1917
